Case 1:18-cv-00021-JMS-WRP Document 52 Filed 04/19/19 Page 1 of 4                     PageID #: 322




                      IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF HAWAII

  QUINTIN-JOHN D’AGIRBAUD, III, )                    Civ. No. 18-00021 JMS-RLP
  #A0265488,                      )
                                  )                  ORDER DENYING SECOND
             Plaintiff,           )                  MOTION FOR APPOINTMENT OF
                                  )                  COUNSEL, ECF NO. 46
             vs.                  )
                                  )
  SARAH ALANZO, et al.,           )
                                  )
             Defendants.          )
  _______________________________ )

        ORDER DENYING SECOND MOTION FOR APPOINTMENT OF
                       COUNSEL, ECF NO. 46

                                     I. INTRODUCTION

                On March 19, 2018, this court issued an Order denying pro se Plaintiff

  Quintin-John D’Agirbaud III’s (“Plaintiff) motions for injunctive relief and for

  appointment of counsel (the “March 19 Order”). ECF No. 15. On March 1, 2019,

  Plaintiff filed a Motion for Reconsideration of the March 19 Order’s denial of

  appointment of counsel, which the court construes as a Second Motion for

  Appointment of Counsel.1 ECF No. 46. Pursuant to Local Rule 7.2(d), the court



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            Motions for reconsideration of interlocutory orders are governed by Local Rule 60.1,
  which requires that such motions “be filed and served not more than fourteen (14) days after the
  court’s written order is filed.” LR 60.1(c). Because the instant Motion was filed nearly a year
  after the March 19 Order was filed and served, reconsideration is not appropriate.
Case 1:18-cv-00021-JMS-WRP Document 52 Filed 04/19/19 Page 2 of 4                 PageID #: 323




  finds this matter suitable for disposition without a hearing. For the following

  reasons, Plaintiff’s Motion is DENIED.

                                     II. DISCUSSION

                Plaintiff argues that he “will be better served with the assistance of

  counsel” because his work furlough job does not leave him with “the time or

  resources to dedicate to his case.” Mot. ¶¶ 2-3, 8. More specifically, Plaintiff

  argues that he lacks “a prison law library and [has] limited access to the State

  Library.” Id. ¶ 3.

                Generally, a civil litigant has no constitutional right to counsel. See

  Palmer v. Valdez, 560 F.3d 965, 970 (9th Cir. 2009) (citing Storseth v. Spellman,

  654 F.2d 1349, 1353 (9th Cir. 1981)). However, pursuant to 28 U.S.C.

  § 1915(e)(1), the court “may under ‘exceptional circumstances’” request that

  counsel represent “indigent civil litigants.” Id.; see also Agyeman v. Corr. Corp. of

  Am., 390 F.3d 1101, 1103 (9th Cir. 2004) (“The decision to appoint such counsel is

  . . . granted only in exceptional circumstances.”) (quotation marks and citation

  omitted). In determining whether “exceptional circumstances” exist, the court

  must consider a litigant’s “‘likelihood of success on the merits as well as the

  [litigant’s] ability . . . to articulate his claims pro se in light of the complexity of the

  legal issues involved.’” Palmer, 560 F.3d at 970 (quoting Weygandt v. Look, 718


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Case 1:18-cv-00021-JMS-WRP Document 52 Filed 04/19/19 Page 3 of 4             PageID #: 324




  F.2d 952, 954 (9th Cir. 1983)). Difficulties that any litigant proceeding pro se

  would face “do not indicate exceptional factors.” Wood v. Housewright, 900 F.2d

  1332, 1335-36 (9th Cir. 1990).

               Plaintiff concedes that “the legal issues in this case are not particularly

  complex.” Mot. ¶ 8. And he has demonstrated that he is able to present his claims

  adequately. For example, after screening, the court determined that Plaintiff stated

  plausible claims and directed service of his Complaint. See Orders, ECF Nos. 7,

  10. And more recently, Plaintiff was able to articulate and prevail on his motion to

  amend the Rule 16 scheduling order to set this matter for a jury trial. See ECF

  Nos. 44, 49. Further, the limitations on Plaintiff’s time and access to libraries

  because of his work furlough job are not difficulties beyond those that any civil

  litigant would face. In short, Plaintiff has not established the requisite “exceptional

  circumstances” to warrant appointment of counsel.

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Case 1:18-cv-00021-JMS-WRP Document 52 Filed 04/19/19 Page 4 of 4                      PageID #: 325




                                   III. CONCLUSION

               Based on the foregoing, the court DENIES Plaintiff’s Second Motion

  for Appointment of Counsel, ECF No. 46.

               IT IS SO ORDERED.
               DATED: Honolulu, Hawaii, April 19, 2019.



                                                   /s/ J. Michael Seabright
                                                  J. Michael Seabright
                                                  Chief United States District Judge




  D’Agirbaud v. Alanzo, et al., Civ. No. 18-00021 JMS-RLP, Order Denying Second Motion for
  Appointment of Counsel, ECF No. 46




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